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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



IN RE: WRIGHT MEDICAL
TECHNOLOGY, INC., CONSERVE
HIP IMPLANT PRODUCTS
LIABILITY LITIGATION,
                                                   1:12-MD-2329-WSD
This Document Relates To:
ALL CASES




                            OPINION AND ORDER

      On October 5, 2017, the Court conducted a status conference at which the

parties discussed the global resolution of this MDL. ([2015]). On

October 10, 2017, the Court issued its order summarizing the conference and

directing the parties to file a motion requesting the Court to close the MDL to new

claims. ([2017]). The parties filed their motion, and on October 18, 2017, the

Court issued an order granting it, finding the purposes of the MDL fulfilled,

vacating the Court’s Case Management Order No. 1, to the extent it permitted

direct filing of new cases, through short-form complaint or otherwise, and ordering

that no new cases be direct-filed in the MDL. ([2022]).
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      The same day, the Court sent a suggestion to the United States Judicial Panel

on Multidistrict Litigation (the “JPML”) that: (a) included copies of the Court’s

October 10 and 18, 2017 orders, (b) informed the JPML that the MDL was in a

final wind-up phase as a result of a global resolution addressing all cases in the

MDL, and (c) requested the JPML cease transferring new actions to the MDL as

tag-alongs. ([2022]; see also MDL [235]). On October 19, 2017, the JPML

accepted the Court’s suggestion and issued a minute order suspending the

requirement that the Clerk of the JPML be notified of potential tag-along actions.

(MDL [236]).

      Since October 2017, the Court and parties have worked diligently to identify

the individual cases in the MDL that are not included in the Master Settlement

Agreement (MSA) and thus should not remain in the MDL and those cases that are

included in the MSA but should be administratively closed. The parties identified

the cases listed on Exhibit A, attached to this Order, as the cases that were directly

filed in this MDL that are not part of the MSA, and which should be transferred to

the United States District Courts from which they were transferred to be included

in the MDL. The parties identified the cases listed on Exhibit B, attached to this

Order, as cases subject to the MSA and which should remain under this Court’s

jurisdiction until the parties file a stipulation of dismissal dismissing them (the


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“Exhibit B Cases”). The Exhibit B Cases are resolved, are not active cases, and

can be administratively closed.

      Accordingly,

      IT IS HEREBY ORDERED that the cases identified on Exhibit A,

attached to this Order, be transferred out of this MDL and remanded to the United

States District Courts in which they were originally filed and from which they were

transferred to the Court. The Clerk of Court is DIRECTED to transfer the cases

listed in Exhibit A to their respective District Courts.

      IT IS FURTHER ORDERED that the Clerk of Court is DIRECTED to

administratively close all cases listed in Exhibit B.



      SO ORDERED this 22nd day of June, 2018.




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                EXHIBIT A
 




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        CLAIMANT                             COURT FOR REMAND                                      CIVIL
          NAME                                                                                 ACTION NO.
1.    ABTS, Dennis       United States District Court for the Western District of              1:13-cv-0083
                         Wisconsin
2.    ALEXANDER,         United States District Court for the Central District of California   1:13-cv-01967
      Willie
3.    CROSS, Steven      United States District Court for the Central District of Illinois     1:14-cv-02483
4.    DICKSON, J'Renee   United States District Court for the Middle District of Florida       1:17-cv-03842
5.    GRIFFIN, Mark      United States District Court for the District of Maryland             1:17-cv-03989
6.    JARAMILLO,         United States District Court for the District of New Mexico           1:17-cv-04112
      David
7.    LARON, Anthony     United States District Court for the District of Nevada               1:16-cv-04771
8.    LEONARD,           United States District Court for the Central District of California   1:17-cv-03918
      Barbara
9.    MALTIN, Alan D.    United States District Court for the Southern District of Florida     1:16-cv-00917
      and Connie J.
10.   MANCILL,           United States District Court for the Eastern District of Texas        1:17-cv-03705
      Deborah
11.   SCHAUFELE,         United States District Court for the Eastern District of Arkansas     1:16-cv-01575
      Michael C. and
      Martha B.
12.   SPEED, Charles     United States District Court for the Western District of Texas        1:12-cv-03125




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                 EXHIBIT B
 




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Count                      Claimant Name                      Case Number 
     1  ALBRIGHT, ELAINE AND DAVID                     1:13‐cv‐02609‐WSD 
     2  ALLEN, DANNY RAY                               1:12‐cv‐01945‐WSD
     3  ALLEN, MICHAEL & CATHERINE                     1:14‐cv‐04050‐WSD 
     4  AMES, JACQUELINE                               1:12‐cv‐00626‐WSD 
     5  ANDERSON, DOUGLAS AND JANET                    1:17‐cv‐01858‐WSD
     6  ANDERSON, RAY                                  1:12‐cv‐03049‐WSD 
     7  ARVOY, JUDITH M.                               1:14‐cv‐00267‐WSD 
     8  BADER, RUTH M.                                 1:13‐cv‐00294‐WSD
     9  BAKER, WAYNE AND LAUREL                        1:14‐cv‐01063‐WSD 
    10  BARNARD, COREY S.                              1:13‐cv‐02554‐WSD 
    11  BARONE, GIOVANNI AND CARMELA                   1:15‐cv‐00846‐WSD
    12  BARTH, DOROTHY                                 1:17‐cv‐04113‐WSD 
    13  BENSON, ALLISON                                1:17‐cv‐02994‐WSD 
    14  BIRMINGHAM, THOMAS E AND ELIZABETH             1:16‐cv‐02825‐WSD
    15  BOGERT, BONNIE SUE AND RICHARD E               1:16‐cv‐02849‐WSD 
    16  BONKOSKY, DONALD                               1:13‐cv‐01393‐WSD 
    17  BOURDEAUX, RICHARD/STEPHANIE                   1:13‐cv‐04264‐WSD
    18  BRAASCH, FRED                                  1:12‐cv‐02231‐WSD 
    19  BRANNAN, CONSTANCE                             1:16‐cv‐04431‐WSD 
    20  BREEZE, LARRY A.                               1:14‐cv‐00442‐WSD
    21  BRENNEMAN, PHYLLIS                             1:15‐cv‐04517‐WSD 
    22  BRIGGS, HOPE                                   1:14‐cv‐04053‐WSD 
    23  BROOKS, NICOLE                                 1:13‐cv‐01105‐WSD
    24  BROWN, STEVEN                                  1:14‐cv‐03870‐WSD 
    25  BRUNORI, THERESA                               1:14‐cv‐02242‐WSD 
    26  BURGER, JOHN E                                 1:12‐cv‐02306‐WSD
    27  BURNETT, CECIL & JANET                         1:14‐cv‐03360‐WSD 
    28  BUTTERWORTH, MARGRETH                          1:16‐cv‐01011‐WSD 
    29  CARL, NICHOLAS                                 1:13‐cv‐03886‐WSD
    30  CARTER, FRANCES                                1:17‐cv‐02770‐WSD 
    31  CHERVENY, EDWARD J.                            1:13‐cv‐02558‐WSD 
    32  CHRISTY, JOHN                                  1:13‐cv‐01370‐WSD
    33  CIENFUEGOS, JOE A. JR. AND CIEN, TINA MARIE    1:15‐cv‐00927‐WSD 
    34  COHEN, ELEDA                                   1:12‐cv‐01140‐WSD 
    35  CONSTANTINO, MARY                              1:16‐cv‐02326‐WSD
    36  COOK, WILLIAM EARL JR & LESLEE                 1:14‐cv‐04068‐WSD 
    37  DAIGLE, JOEY AND THERESA                       1:13‐cv‐03732‐WSD 
    38  DANLEY, RICHARD                                1:12‐cv‐03109‐WSD



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Count                     Claimant Name                       Case Number 
    39  DASKIVICH, JOANN AND MICHAEL                   1:14‐cv‐00603‐WSD 
    40  DEES, JACE                                     1:11‐cv‐04415‐WSD
    41  DEJESUS, CRESENCIO                             1:13‐cv‐00251‐WSD 
    42  DELAIR, MILTON                                 1:16‐cv‐04146‐WSD 
    43  DESTOUET, MARY                                 1:17‐cv‐03401‐WSD
    44  DEVILLE, DIANE                                 1:12‐cv‐02995‐WSD 
    45  DICKERSON, ANNE                                1:12‐cv‐01553‐WSD 
    46  DISSINGER, RAY Z.                              1:14‐cv‐03636‐WSD
    47  DODD, LARRY R.                                 1:13‐cv‐04077‐WSD 
    48  DOUGHERTY, LAWRENCE & KATHLEEN                 1:14‐cv‐00833‐WSD 
    49  DOW, LEILANI                                   1:14‐cv‐03274‐WSD
    50  DUECY, JANET                                   1:15‐cv‐03052‐WSD 
    51  DUNN, NANCY                                    1:16‐cv‐04190‐WSD 
    52  DUVALL, WILLIAM & ROSEMARY                     1:13‐cv‐02389‐WSD
    53  FILLMORE, BEN AND ANN                          1:14‐cv‐01490‐WSD 
    54  FISHEL, LINDA                                  1:12‐cv‐03081‐WSD 
    55  FOLIART, SHIRLEY                               1:15‐cv‐03534‐WSD; 1:15‐cv‐
                                                       02930‐WSD 
    56  FREY, NICOLE                                   1:12‐cv‐03211‐WSD
    57  GANDY, PATRICK AND CYNTHIA                     1:13‐cv‐03763‐WSD 
    58  GARBES, SHELLEY                                1:16‐cv‐03707‐WSD 
    59  GIASSON, GUY P.                                1:12‐cv‐04205‐WSD
    60  GRAVES, GLEN                                   1:12‐cv‐02449‐WSD 
    61  GRAY, ROGER                                    1:16‐cv‐04045‐WSD 
    62  GREENFIELD, KEVIN L. & WANDA                   1:14‐cv‐03624‐WSD
    63  GROFF, MARGARET AND PHILLIP                    1:13‐cv‐03939‐WSD 
    64  GROSS, HENRY                                   1:14‐cv‐03159‐WSD 
    65  HAMILTON, JAMES                                1:12‐cv‐03078‐WSD
    66  HARBISON, WILDA J.                             1:14‐cv‐01064‐WSD 
    67  HARDY, RICHARD C & DOROTHY J                   1:13‐cv‐01636‐WSD 
    68  HARMON, FRANCES/CHARLES                        1:14‐cv‐02336‐WSD
    69  HAVERLY, WILLIAM                               1:16‐cv‐04773‐WSD 
    70  HAWKINS, LARRY                                 1:13‐cv‐00187‐WSD 
    71  HENDRIX, JUDITH                                1:16‐cv‐01420‐WSD
    72  HEROLD, KATHLEEN AND DAVID                     1:14‐cv‐01054‐WSD 
    73  HERZOG, ERIC                                   1:16‐cv‐04193‐WSD 
    74  HIRSCH, DARRELL                                1:12‐cv‐03097‐WSD
    75  HOHENBERGER, THERESA                           1:13‐cv‐00295‐WSD 



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Count                       Claimant Name                       Case Number 
    76  HOLMES, JAMES                                    1:13‐cv‐00126‐WSD 
    77  HOMER, TERRY                                     1:15‐cv‐02538‐WSD
    78  HOOKER, NAOMI                                    1:12‐cv‐03106‐WSD 
    79  HORINE, PATRICIA DIANE & BOBBY GENE              1:14‐cv‐04079‐WSD 
    80  HUTCHISON, CHARLES & CAROL                       1:13‐cv‐01792‐WSD
    81  ISHMAEL, LISA/DAVID                              1:12‐cv‐02727‐WSD 
    82  JACOBS, HARRY                                    1:14‐cv‐02277‐WSD 
    83  JOHNSON, EMMA JEAN & KEVIN                       1:14‐cv‐03642‐WSD
    84  JOHNSON, JERRY L. SR. AND SHARON M.              1:15‐cv‐00852‐WSD 
    85  JOHNSON, NANCY C                                 1:17‐cv‐01779‐WSD 
    86  JONES, DONALD                                    1:15‐cv‐00418‐WSD
    87  JONES, EVELYN                                    1:14‐cv‐02343‐WSD 
    88  KIMSEY, RONALD                                   1:13‐cv‐01943‐WSD 
    89  KIRK, LISA M.                                    1:14‐cv‐04093‐WSD
    90  KIRKLEY, DAVID AND DIANNA                        1:14‐cv‐00553‐WSD 
    91  LALK, DONNA M                                    1:13‐cv‐02742‐WSD 
    92  LARUE, JOSEPH ABEL JR.                           1:14‐cv‐00379‐WSD
    93  LAVARES, DAVID                                   1:12‐cv‐04319‐WSD 
    94  LAWMAN, SHERYL                                   1:14‐cv‐03689‐WSD 
    95  LEE, MICHAEL                                     1:12‐cv‐02039‐WSD
    96  LONG, LANNY L. AND RUTH ANN                      1:13‐cv‐02597‐WSD 
    97  MANG, BARRY                                      1:13‐cv‐00184‐WSD 
    98  MARCH, SANDRA                                    1:17‐cv‐01763‐WSD
    99  MARINO, PAUL                                     1:13‐cv‐03882‐WSD; 1:12‐cv‐
                                                         03141‐WSD 
   100  MARSHALL, BILLY AND BEVERLY                      1:15‐cv‐00568‐WSD 
   101  MARTIN, OLGA                                     1:12‐cv‐01233‐WSD 
   102  MCCLARITY, MARY                                  1:14‐cv‐01692‐WSD
   103  MCCLELLAND, VERA                                 1:13‐cv‐01143‐WSD 
   104  MCCORMICK, BRIAN                                 1:14‐cv‐00228‐WSD 
   105  MCCOVERY, JAMMIE                                 1:15‐cv‐00422‐WSD
   106  MCMAHON, SHARON (AS EXECUTOR OF THE ESTATE OF    1:15‐cv‐01219‐WSD 
        ROSEMARY MASER, DECEASED) 
   107  MEAD, MARTIN                                     1:13‐cv‐00190‐WSD 
   108  MEIER, RUSSELL                                   1:15‐cv‐01297‐WSD 
   109  MELTZER, DALE SUSAN                              1:17‐cv‐01458‐WSD
   110  METZGER, MARTIN                                  1:14‐cv‐04111‐WSD 
   111  MEYER, MELVIN RAY AND CAROL SUE                  1:14‐cv‐02148‐WSD 




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Count                    Claimant Name                       Case Number 
   112  MEYERHOFER, NICHOLAS J                        1:13‐cv‐00137‐WSD 
   113  MICHALS, JOANNE L.                            1:16‐cv‐04478‐WSD
   114  MILLER, JAMES AND JANE                        1:17‐cv‐01894‐WSD 
   115  MILLER, VICTOR AND LINDA                      1:15‐cv‐04519‐WSD 
   116  MILLS, NORMAN                                 1:14‐cv‐00606‐WSD
   117  MONSON, MARILYN R. AND GARY LYNN              1:15‐cv‐02076‐WSD 
   118  MOORE, MARSHA                                 1:17‐cv‐03637‐WSD 
   119  MORALES, KATHY AND GLENDON                    1:15‐cv‐00873‐WSD
   120  MORRISON, BEVERLY                             1:14‐cv‐01227‐WSD 
   121  MORROW, KRISTIN A. V. BIRNBAUM                1:14‐cv‐02437‐WSD 
   122  MURIN, JENNIFER (E/O BARBARA)                 1:13‐cv‐01392‐WSD
   123  NAIL, RITA                                    1:12‐cv‐01542‐WSD 
   124  NEAL, ANTHONY                                 1:16‐cv‐02636‐WSD 
   125  NEELLEY, MATTHEW AND VIVIAN                   1:14‐cv‐02243‐WSD
   126  NELSON, SHAWNA                                1:15‐cv‐02690‐WSD 
   127  NICHOLS, STEPHEN                              1:16‐cv‐01050‐WSD 
   128  NYDEGGER, SETH                                1:17‐cv‐04114‐WSD
   129  OFFRELL, DAN                                  1:12‐cv‐02763‐WSD 
   130  OKSIENIK, EDWARD                              1:17‐cv‐00932‐WSD 
   131  ORSINELLI, SHIRLEY                            1:16‐cv‐04772‐WSD
   132  ORTEGA, JOSEPH C. AND RITA L.                 1:15‐cv‐00547‐WSD 
   133  OSEGUERA, MICHAEL                             1:17‐cv‐01762‐WSD 
   134  OTEY, JOHN                                    1:13‐cv‐01942‐WSD
   135  PACHECO, EVELYN                               1:14‐cv‐03604‐WSD 
   136  PAES, RICHARD                                 1:13‐cv‐00191‐WSD 
   137  PALMER, CHARLES & MARILYN                     1:14‐cv‐01658‐WSD
   138  PALMER, MARK                                  1:13‐cv‐00202‐WSD 
   139  PALOW, DON                                    1:12‐cv‐02176‐WSD 
   140  PARRISH, LARRY                                1:14‐cv‐03021‐WSD
   141  PAUL, EILEEN AND JEFFREY                      1:15‐cv‐03091‐WSD 
   142  PAYNE, JOHN AND DEBRA                         1:14‐cv‐01830‐WSD 
   143  PEREZ, DARIUS AND JUAN                        1:13‐cv‐03885‐WSD
   144  PERRY, JAN                                    1:17‐cv‐00957‐WSD 
   145  PFEIFFER, LAVERN                              1:16‐cv‐03204‐WSD 
   146  PHILLIPS, HERMAN & WANDA                      1:14‐cv‐03607‐WSD
   147  POWELL, MARCOLA                               1:14‐cv‐03152‐WSD 
   148  PREOBRAZHENSKAYA, GALINA                      1:16‐cv‐02346‐WSD 
   149  PROFFITT, CRAIG A. & MARY J.                  1:14‐cv‐00557‐WSD



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Count                        Claimant Name                    Case Number 
   150  PYPER, JEFFREY                                 1:17‐cv‐03563‐WSD 
   151  QUIROZ, RUBEN AND PATRICIA                     1:13‐cv‐03194‐WSD
   152  RADACH, LINDA                                  1:12‐cv‐03074‐WSD 
   153  REGISTER, ELLIS AND SANDRA                     1:16‐cv‐01576‐WSD 
   154  REHBERGER, MARY                                1:15‐cv‐00423‐WSD
   155  REUFFER, SUSAN                                 1:14‐cv‐00972‐WSD 
   156  RICHARDSON, JOHNNIE L.                         1:17‐cv‐00652‐WSD 
   157  RISILIA, ANNA K.                               1:14‐cv‐02560‐WSD
   158  RITTENHOUSE, PEGGY                             1:14‐cv‐03989‐WSD 
   159  ROSMARIN, IRWIN                                1:13‐cv‐03101‐WSD 
   160  SAKJAS, HARRY                                  1:12‐cv‐00628‐WSD
   161  SCALLEY, FORD                                  1:17‐cv‐02151‐WSD 
   162  SCHEEL, BILLIE CHLO                            1:14‐cv‐03532‐WSD 
   163  SCHMIDT, FRITZ KARL AND CECILIA                1:14‐cv‐01826‐WSD
   164  SCHNEIDERMAN, DONALD                           1:12‐cv‐02079‐WSD 
   165  SCHOFIELD, GEOFFREY                            1:17‐cv‐02492‐WSD 
   166  SETTERDAHL, ROGER AND CAROL                    1:13‐cv‐03586‐WSD
   167  SHEETS, ROBERT & CAROLYN                       1:14‐cv‐03153‐WSD 
   168  SHIVELY, CLARENCE                              1:17‐cv‐01051‐WSD 
   169  SHORES, KEVIN AND BRENDA                       1:14‐cv‐00424‐WSD
   170  SHORT, CLIFTON                                 1:14‐cv‐03048‐WSD 
   171  SHORTLEY, THOMAS AND MARINA                    1:15‐cv‐01065‐WSD 
   172  SMITH, ANA                                     1:14‐cv‐02027‐WSD
   173  SMITH, JOHN R.                                 1:14‐cv‐03066‐WSD 
   174  SMITH, JOHN T.                                 1:17‐cv‐00037‐WSD 
   175  SNIDER, WENDY LYNN & TIMOTHY A.                1:14‐cv‐03720‐WSD
   176  SNITKOFF, ERIC                                 1:12‐cv‐00612‐WSD 
   177  SOBEK, FRANCES                                 1:12‐cv‐03083‐WSD 
   178  SODERMAN, GEORGE ARNOLD                        1:14‐cv‐03707‐WSD
   179  SPALDING, RENEE L. & GREG M.                   1:14‐cv‐03112‐WSD 
   180  STAGNER, FRANCES AND JAMES                     1:14‐cv‐00570‐WSD 
   181  STAHL, DENISE                                  1:15‐cv‐03589‐WSD
   182  STEVENSON, NANCY AND BRUCE                     1:13‐cv‐03642‐WSD 
   183  STROHM, SHANNON                                1:15‐cv‐00111‐WSD 
   184  SYLVESTER, DAVID A. & DIANE                    1:14‐cv‐02901‐WSD
   185  THAMES, DELORES                                1:13‐cv‐00777‐WSD 
   186  TIMOTHY, JULIA                                 1:13‐cv‐01680‐WSD 
   187  TRUJILLO, SANDRA/BACILIO                       1:14‐cv‐02446‐WSD



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Count                      Claimant Name                      Case Number 
   188  WAGNER, BEVERLY A                              1:13‐cv‐01714‐WSD 
   189  WARDEN, STEPHEN AND KELLY                      1:14‐cv‐01135‐WSD
   190  WARREN, WINFRED & ANGELA                       1:14‐cv‐03378‐WSD 
   191  WATERS, DAYL                                   1:14‐cv‐02357‐WSD 
   192  WATKINS, CRAIG                                 1:12‐cv‐02689‐WSD
   193  WHITBECK, ROBERT E. & PAM                      1:14‐cv‐02370‐WSD 
   194  WILLIAMS, ENID                                 1:13‐cv‐00192‐WSD 
   195  WILLIAMS, WILLIAM                              1:17‐cv‐01438‐WSD 
   196  WILLIAMSON, GEORGE ALBERT                      1:14‐cv‐00583‐WSD 
   197  WILLING, RICHARD & SUSAN                       1:14‐cv‐00199‐WSD 
   198  WILSON, BRENDA                                 1:14‐cv‐01518‐WSD
   199  WILSON, PEGGY                                  1:14‐cv‐03581‐WSD 
   200  WOODLEY, BARBARA                               1:14‐cv‐02570‐WSD 
   201  WOODS, SHERI                                   1:15‐cv‐01546‐WSD
   202  WOODWORTH, MICHAEL AND VALERIE                 1:15‐cv‐03771‐WSD 
   203  WORKMAN, WILLIAM                               1:12‐cv‐03084‐WSD 
   204  ZWIRNMANN, NONA                                1:13‐cv‐00193‐WSD




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